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UNITED STATES DISTRICT COURT
WEsTERN DISTRICT oF TENNESSEE 95 hug 17 ppg s= 02

  

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NATIoNAL HERITAGE REALTY, lNC. CLE¥;?§UC? ha HES
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CIvlL ACTIoN CAsE

MID-SOUTH ASSOCIATES, LLC,

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) NO. 04-2659 B/V
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Defendant. )
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CONSENT PROTECTIVE ORDER

Discovery sought by the parties in the above-captioned case may involve
production of documents and things containing confidential information and
Witnesses Whose testimony may concern matters that are of a confidential nature.
For good cause shown, pursuant to Federal Rule of Civil Procedure 26(c), IT IS
HEREBY ORDEREI) THAT:

l.

Any party in this case and any non-party or person shall have the right to
designate as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL” for purposes of
this Order any information Which that party produces in this case, vvhether it be a
document, information contained in a document, a response to interrogatories,
testimony given at a deposition or hearing, tangible things or other information
produced or supplied by the party or non-party that it in good faith reasonably
believes contains non-public confidential, proprietary, trade secret or other

cormn_ercially-sensitive information A party or non-party shall designate material

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as “HIGHLY CONFIDENTIAL” only if it consists of CONFIDENTIAL material
that, if disclosed to directors, officers, or employees of a receiving party, vvould be
commercially harmful to the supplying party.

2.

Any information or material so designated shall be considered
CONFIDENTIAL material for purposes of this Order and shall be used by the
receiving party or parties solely in connection with this action and may not be used
or disclosed except as provided in this Order. All such persons and entities are
barred from using CONFIDENTIAL or HlGHLY CONFIDENTIAL material to
further the business interests of any party hereto (other than the prosecution of
claims or preparation of defenses in this action) or the business interests of any
other person, firm, corporation or other entity.

3.

The designation of discovery material as “CONFIDENTIAL” or “HIGHLY
CONFIDENTIAL” for purposes of this Order shall be made as folloWs:

a. In the case of a document, a response to interrogatories, or other
Written material (apart from depositions, other pretrial testimony,
transcripts thereof and exhibits thereto) by stamping in a conspicuous
place on each page containing such confidential information the term
“CONFIDENTIAL” or “HIGHLY CONFIDENTIAL;”

b. In the case of a tangible thing, by placing in a prominent place the
term “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL;”

c. In the case of depositions, other pretrial testimony, the transcripts
thereof and exhibits thereto, by counsel for the party making the
disclosure stating on the record at the time of such disclosure or

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Within thirty (l()) days after receipt of the transcript of the deposition
that such testimony is “CONFIDENTIAL” or “HIGHLY
CONFIDENTIAL” and requesting that the transcript of such material
be clearly marked as “CONFIDENTIAL” or “HIGHLY
CONFIDENTIAL.”

d. A supplying party’s designation of any material as
“CONFIDENTIAL” or “HIGHLY CONFIDENTIAL” shall also
render “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL” any
copies, excerpts, summaries or other disclosure of the substance or
contents of such material.

4.

In the event that a receiving party disagrees With any “CONFIDENTIAL” or
“H]GHLY CONFIDENTIAL” designation, the receiving party and designating
person shall confer pursuant to Federal Rule of Civil Procedure 26 and Local Rule
7.2 and attempt in good faith to resolve the disagreement If the receiving party
and designating person fail to resolve their dispute, the person or party objecting
to the confidentiality designation may apply to the Court for a determination of
whether the designated information should remain “CONFIDENTIAL” or
“HIGHLY CONFIDENTIAL;” provided, however, that the person or party
making the designation shall have the burden of proving the necessity for the
designation Until the Court rules on the objecting person’s or party’s application,
any information that has been produced and designated as “CONFIDENTIAL” or
“HIGHLY CONFIDENTIAL” shall be treated as so designated and subject to the
terms of this Order. No party to this action shall be obligated to challenge the
propriety of any designation and a failure to do so shall not preclude a subsequent

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attack on the propriety of such designation. Nothing in this Order shall be
construed to adjudicate the actual confidentiality of any such material, but rather
this Order is entered solely for the purpose of facilitating the discovery process in
this action.

5.

Nothing herein shall prevent disclosure beyond the terms of this Order if the
person or party designating the material as “CONFIDENTIAL” or “HIGHLY
CONFIDENTIAL” specifically consents in advance in writing to such disclosure,
or if the Court, after notice to all parties, orders such disclosure The parties shall
try to agree on procedures governing the use of CONFIDENTIAL or HlGHLY
CONFIDENTIAL material at any hearing or trial and shall submit those to the
Court for its approval. Should the parties fail to agree or obtain Court approval,
nothing herein shall preclude any party or third party from making an application
to the Court concerning the handling or treatment of material designated
“CONFIDENTIAL” or “HIGHLY CONFIDENTIAL” at any trial or hearing in
this action.

6.

Whenever any information or material designated “CONFIDENTIAL” or
“HIGHLY CONFIDENTIAL” is disclosed or used at a deposition in which
testimony in this action is given, each portion of any such testimony in which such
information is disclosed or used shall be conducted with only those persons in
attendance who are authorized under this Order to have access to such
information, and the transcript of such portion and all exhibits identified in that

portion of the transcript shall be marked “CONFIDENTIAL” or “HIGHLY

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CONFIDENTIAL,” as applicable, and thereafter deemed to be fully subject to the
provisions of this Order.
7.

When filed with the Court by any person or party, all materials designated
“CONFIDENTIAL” or “HIGHLY CONFIDENTIAL,” as well as all motions,
briefs, memoranda or other pleadings containing or referencing such materials (in
such manner that the “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL”
information may be revealed thereby), shall be filed in a sealed envelope or other
appropriately sealed container on which shall be endorsed the style of this action,
a description of the contents of the envelope or container, the word
“CONFIDENTIAL” or “HIGHLY CONFIDENTIAL,” as applicable, and the
following statement “This envelope (or container) contains confidential
documents filed in this case pursuant to a Protective Order and is not to be opened,
nor are its contents to be displayed or revealed, except on order of the Court.”
Such envelope or sealed container may be opened and its contents reviewed only
by authorized Court personnel or upon written consent of the counsel of record for
the designating party. The filing party has fully discharged its obligations
pursuant to this Paragraph 7 upon filing the “CONFIDENTIAL” or “HIGHLY
CONFIDENTIAL” materials in the manner specified herein.

8.

Documents and other material designated “CONFIDENTIAL” pursuant to
the terms of this Order may only be disclosed to:

a. Any directors, officers, employees or independent contractors of a

party to whom the party’s counsel of record reasonably believes

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disclosure is necessary in connection with preparation for discovery
or trial in this action;
The parties’ counsel of record in this case and their in-house counsel,
and their employees or professional assistants, paralegals, legal
assistants and secretaries actually working on this action;
Any person who is being questioned in a deposition, hearing or trial;
The Court and Court personnel at any stage in this case;
Any experts, consultants, or independent contractors employed to
advise or assist counsel of record for any party in the preparation,
hearing, or trial of this action, and any of their employees or support
personnel working on this action, provided that such expert,
consultant or contractor to whom the disclosure is to be made
consents in writing to be bound by the terms of this Order by
executing the form of the confidentiality agreement attached hereto as
Exhibit “A”;
Court reporters, stenographers or video operators actually recording
proceedings in this action; and
Other persons as agreed to by the parties or as ordered by the Court.

9.

Documents and other material designated “HIGHLY CONFIDENTIAL”

pursuant to the terms of this Order may only be disclosed to:

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b.

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The parties’ counsel of record in this case and their in-house counsel,
and their employees or professional assistants, paralegals, legal
assistants and secretaries actually working on this action;

Any person who is being questioned in a deposition, hearing or trial;

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C.

The Court and Court personnel at any stage in this case;

Any experts, consultants, or independent contractors employed to

advise or assist counsel of record for any party in the preparation,

hearing, or trial of this action, and any of their employees or support

personnel working on this action, provided that such expert,

consultant or contractor to whom the disclosure is to be made

consents in writing to be bound by the terms of this Order by

executing the form of the confidentiality agreement attached hereto as

Exhibit “A”;

Court reporters, stenographers or video operators actually recording

proceedings in this action; and

Other persons as agreed to by the parties or as ordered by the Court.
lO.

Nothing herein shall be construed as an agreement or admission:

21.

By the receiving party that any material designated as
“CONFIDENTIAL” or “HIGHLY CONFIDENTIAL” by the
producing party is in fact confidential; or

With respect to the competency, relevancy or materiality, or

admissibility of any information, document or the like.

ll.

If at any time any information designated as “CONFIDENTIAL” or

“HlGHLY CONFIDENTIAL” and governed by this Order is subpoenaed or

requested by a court, an administrative or legislative body, or by any other person

or entity purporting to have authority to require the production of such

information, the person to whom the subpoena is directed (the “Subpoenaed

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Party”) shall give prompt written notice by facsimile to the party or non-party that
designated the information as confidential (the “Designating Party”) and include a
copy of the subpoena or request (unless providing disclosure of the subpoena or
request is prohibited by law or court order) to the Designating Party. After the
receipt of the notice specified under this paragraph, the Designating Party shall
have the sole responsibility for obtaining any order it believes necessary to prevent
disclosure of documents or information designed “CONFIDENTIAL” or
“HIGHLY CONFIDENTIAL.” If the Designating Party does not move to quash
the subpoena, move for a protective order, or seek another appropriate order
within the time allowed for the discovery sought by the subpoena or request (or
within such time as a court may direct or as may be agreed upon between the
Designating Party and the subpoenaing or requesting party) or give written notice
of such motion to the subpoenaing or requesting party and the Subpoenaed Party,
the Subpoenaed Party may commence production in response thereto on the date
designated on the subpoena or request. In all other aspects, the Subpoenaed Party
shall cooperate with the Designating Party to the extent permitted by law.
Notwithstanding the filing of a motion to quash or for protective order, nothing in
this paragraph requires the Subpoenaed Party to withhold production of
documents during the pendency of the motion if not permitted by law to do so.
12.

This Order has been entered to facilitate discovery and the production of
relevant evidence in this action. Neither the entry of this Order, nor the
designation of any material as “CONFIDENTIAL” or “l-IIGHLY
CONFIDENTIAL,” nor the failure to make such designation shall constitute
evidence with respect to any issue in this action.

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13.

All “CONFIDENTIAL” and “HIGHLY CONFIDENTIAL” information
produced by any person or party during the course of the proceeding of this action
and all copies thereof in any form stored or reproduced, upon request, shall be
promptly returned to the producing person or party within sixty (60) days of the
final termination of this action, including appeals. ln addition, upon request, each
party shall, within sixty (60) days of the request, destroy, in whatever form stored
or reproduced, all of the materials that contain or refer to confidential information
of another party or person, except that counsel of record may retain one copy of
the pleadings, correspondence and attorneys’ notes relating to this action, subject
to the other terms of this Order. The party or parties receiving the request to
return or destroy such material may instead make the materials available to the
requesting party or person for retrieval.

l-4.

Nothing herein shall be construed to provide a basis for non-compliance
with the parties’ obligations to produce documents under the Federal Rules of
Civil Procedure or other applicable rules of procedure; nothing herein shall be
construed to waive any right that any party may have to object to any demand for
production of any documents; and nothing herein shall preclude any party from
seeking greater protection with respect to any documents than that provided for in
this Protective Order.

15.

Nothing in this Order shall apply to:

a. lnforrnation which at or prior to disclosure thereof in this action is or

was in the public domain or which, after disclosure thereof to the

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persons or parties bound by this Order, becomes public without action
on their part; and

b. Information which was rightfully possessed by the party or parties

receiving it other than through its production in the proceedings of
this action.
16.

The provisions of this Order shall continue to be binding until modified,
superseded or terminated by Order of the Court or by agreement of the parties The
Court retains jurisdiction over the parties for enforcement of the provisions of this
Order following the conclusion of the action.

l7.

Nothing contained in this Order shall prejudice the right of any party to seek

an Order of this Court modifying or dissolving this Order. Such request for

dissolution or modification of this Order may be made by any party at any time.

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U GE J. DANIEL BRREN
Agreed to by:
BURCH, PoRTER a JoHNsoN PLLC woLFF ARDIS, P.C.

 

 

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Attorneys for Plaintiff
National Heritage Realty, Inc.

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EXHIBIT A
CONFIDENTIALITY AGREEMENT

l hereby acknowledge that l may receive information designated as
“CONFIDENTIAL” or “HIGHLY CONFIDENTIAL” by the party producing that
information in discovery in the following action: National Heritage Realty, Inc. v.
Mid-South Associares, LLC; Civil Action File No. 04-2659 B/V (the “Action”); in
the United States District Court for the Western District of Tennessee, Western
Division (the “Court”).

l certify my understanding that if l receive this information it will be
provided to me pursuant to the terms and restrictions of the attached Order entered
on , 2005, in this litigation (the “Order”). I further certify that l have
been given a copy of and have read the terms of that Order and agree to be bound
by its terms.

I understand that all documentary material which I receive containing
information designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL”
and all working copies, computer data storage, digests or abstracts prepared from
this material are to remain in my personal custody until l have completed my
assigned duties, if any, whereupon all such material and all notes made by me
containing any of this confidential information are to be returned to the party or
counsel who provided the confidential information to me.

l agree that the confidential information l receive shall not be disclosed to
anyone else and that this information shall not be used for any purpose other than
preparation for and trial or appeal of the action in which the Order has been

entered

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l understand that any violation of this Order may subject me to sanctions by
the Court. l further agree and do hereby submit myself to the jurisdiction of the

Court for all matters concerning enforcement or violation of the Protective Order.

Dated:

 

Name:

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 41 in
case 2:04-CV-02659 was distributed by fax, mail, or direct printing on
August 18, 2005 to the parties listed.

 

 

David E. Goodman

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Honorable .l. Breen
US DISTRICT COURT

